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                              UNITED STATES DISTRICT COURT

                             WESTERN DISTRICT OF LOUISIANA

                                        MONROE DIVISION

 UNITED STATES OF AMERICA                               CR. A. NO. 01-30043-12

 VERSUS                                                 JUDGE ROBERT G. JAMES

 RODNEY ETHRIDGE                                        MAG. JUDGE KAREN L. HAYES

                                               ORDER

        Because of the recent revision to the base offense levels for crack cocaine, Section 2D1.1 of

 the United States Sentencing Guidelines, this matter will be considered for re-calculation of sentence

 pursuant to 18 U.S.C. § 3582(c)(2). All cases falling under 18 U.S.C. § 3582(c)(2) will be

 considered in order of the current release date of each defendant, with the cases of those defendants

 who are closest to their release dates considered first.

        IT IS ORDERED that the Office of the Public Defender is appointed to represent all

 defendants who are potentially affected by the revisions to the Sentencing Guidelines on crack

 cocaine. If a defendant retains private counsel, that counsel should enroll immediately and will be

 subject to the provisions of this Order.

        IT IS FURTHER ORDERED that the United States Probation Office shall review each case

 and shall issue to the Office of the Federal Public Defender and the United States Attorney’s Office

 a re-calculation of each defendant’s range of imprisonment. A representative of the United States

 Probation Office shall file in the record a notice stating the date and manner by which the re-

 calculation was provided to counsel.

        Having reviewed the Probation Office’s re-calculation of the applicable Guideline range of

 imprisonment and the record in this matter, including the Pre-Sentence Report, the Court intends to

 issue an Amended Judgment reducing Defendant Rodney Ethridge’s term of imprisonment from 144
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 months to 120 months imprisonment. Therefore,

         IT IS ORDERED that the United States Attorney’s Office and the attorney representing the

 defendant shall file within 60 days of their receipt of this Order a notice stating (1) whether a hearing

 is requested or waived and (2) whether there are any objections to the re-calculation and/or to the

 Court’s proposed term of imprisonment.

         It is the intent of the Court to address every defendant potentially affected by these Guideline

 revisions and to do so in as prompt a manner as possible.

         MONROE, LOUISIANA, this 3rd day of April, 2008.




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